           Case 2:21-cv-00066-RSL Document 47 Filed 10/18/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE

TORI BELLE COSMETICS LLC,                         No. 2:21-cv-0066RSL

                      Plaintiff,

      v.                                          ORDER REQUIRING ADDITIONAL
                                                  INFORMATION
NATALIE MEEK, et al.,

                       Defendants.




       This matter comes before the Court on Perkins Coie LLP’s motion for leave to withdraw

as counsel of record for defendants Natalie Meek, Anna L. Hone, Johnette Rutledge, Kinzie

Jones, Jennifer L. Russo, Juvenae LLC, Juvenae Holdings LLC, and Scott R. Seedall. Despite

the specific requirement of LCR 83.2(b)(1), the moving attorneys have declined to provide

defendants’ last known addresses and telephone numbers, citing their obligations under RPC 1.6.

The Court finds, however, that the just administration of this case will be virtually impossible if

defendants are not notified of filings in a timely manner. For that reason, the local rules of this

district require that the contact information for a party or the party’s attorney be made available

(LCR 10(e)(3) (“At the right side of the bottom of each page, the law firm (if any), mailing

address and telephone number of the attorney or party preparing the paper should be printed or
 ORDER REQUIRING ADDITIONAL
 INFORMATION – 1
              Case 2:21-cv-00066-RSL Document 47 Filed 10/18/21 Page 2 of 2




1    typed.”)) and updated as necessary, on pain of dismissal (LCR 10(f); LCR 41(b)(2)). The moving

2    attorneys are therefore ORDERED to provide the clients’ last known addresses and telephone

3    numbers as permitted by RPC 1.6(b)(6). Cara Wallace, David A. Perez, Elvira Castillo, and

4    Reina Almon-Griffin remain counsel of record for defendants.

5
            Dated this 18th day of October, 2021.
6
7

8                                               Robert S. Lasnik
                                                United States District Judge
9

10
11

12

13
14

15

16
17

18
19

20

21
22

23
24

25

26
